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             IN THE UNITED STATES DISTRICT COURT FOR THE
                    NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION

UNITED STATES OF AMERICA,

vs.                                            Case No.      3:00cr48/LAC
                                                             3:09cv129/LAC/CJK

JERROLD L. GUNN,
     Defendant.
________________________________________________________________

                                      ORDER

        This cause comes on for consideration upon the magistrate judge’s Report and
Recommendation dated June 13, 2011. (Doc. 1812). The parties have been furnished
a copy of the Report and Recommendation and have been afforded an opportunity to
file objections pursuant to Title 28, United States Code, Section 636(b)(1). I have
made a de novo determination of objections filed.
        Having considered the Report and Recommendation, and the timely filed
objections thereto, I have determined that the Report and Recommendation should be
adopted.
        Accordingly, it is now ORDERED as follows:
        1.    The magistrate judge's report and recommendation is adopted and
incorporated by reference in this order.
        2.    The motion to vacate, set aside, or correct sentence pursuant to 28 U.S.C.
§ 2255 (doc. 1718) is DENIED.
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      3.     The Court in its review of the record finds no substantial showing of the
denial of a constitutional right. See § 2253(c)(2); Slack v. McDaniel, 529 U.S. 473,
483–84, 120 S. Ct. 1595, 1603–04, 146 L. Ed. 2d 542 (2000) (explaining how to
satisfy this showing) (citation omitted). Therefore, a certificate of appealability is
DENIED.


      DONE AND ORDERED this 26th day of August, 2011.



                                 s /L.A. Collier
                                 LACEY A. COLLIER
                                 SENIOR UNITED STATES DISTRICT JUDGE
